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                   United States Court of Appeals
                                For the First Circuit


      No. 17-1968

                  SCOTTSDALE CAPITAL ADVISORS CORP.; JOHN HURRY,

                                Plaintiffs, Appellants,

                                            v.

                           THE DEAL, LLC; WILLIAM MEAGHER,

                                Defendants, Appellees.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

                [Hon. Joseph Laplante, Chief U.S. District Judge]


                                          Before

                                Lynch, Circuit Judge,
                             Souter, Associate Justice,*
                             and Kayatta, Circuit Judge.


           Dilan Esper, with whom Douglas E. Mirell, Jordan D. Susman,
      Harder Mirell & Abrams, LLP, Christopher D. Hawkins, and Devine,
      Millimet & Branch, P.A., were on brief, for appellants.
           Elizabeth A. McNamara, with whom John M. Browning and Davis
      Wright Tremaine LLP were on brief, for appellees.


                                      April 3, 2018




            *Hon. David H. Souter, Associate Justice (Ret.) of the
      Supreme Court of the United States, sitting by designation.
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                   KAYATTA, Circuit Judge.            Defendant The Deal, LLC posted

      to a subscriber-only website and attached to email newsletters

      three articles written by defendant William Meagher that allegedly

      defamed plaintiffs Scottsdale Capital Advisors Corporation and

      John Hurry.       Plaintiffs eventually filed suit in New Hampshire.

      None of the four parties has anything to do with New Hampshire

      except that one of The Deal's institutional subscribers, Dartmouth

      College,     is   located    there.       After     discovery   indicated    that

      plaintiffs would have no reasonable basis upon which to establish

      that anyone in New Hampshire ever saw any of the three articles as

      a   result   of   the    Dartmouth      subscription,     the   district    court

      dismissed the complaint for lack of personal jurisdiction.                    For

      the following reasons, we affirm.

                                      I.    Background

                   The Deal is a Delaware limited liability company with

      its principal place of business in New York.              It reports primarily

      on financial matters relevant to small cap and microcap securities

      markets.     It has approximately 700 subscribers.           While this number

      may   seem    small     in   absolute    terms,     virtually   all   of    these

      subscribers are large institutions, many of which apparently pay

      substantial amounts for a subscription.                Individuals affiliated

      with the subscribing institution gain the ability to access The

      Deal's web portal, on which The Deal posts its articles.                    These




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      individuals can also sign up to receive email newsletters from The

      Deal containing PDF copies of The Deal's articles.

                   In late 2013 and early 2014 The Deal posted on its

      subscriber-only       web    portal      three   articles     written   by   Meagher

      concerning plaintiffs.          The Deal also sent each article as a PDF

      attachment by email to newsletter subscribers. The articles stated

      --   falsely,   allege      plaintiffs      --   that   plaintiffs      were   under

      investigation by law enforcement and securities regulators.

                   Plaintiff Scottsdale is an Arizona corporation with its

      principal place of business in Arizona.                     Plaintiff Hurry is an

      executive officer of Scottsdale and a citizen of Nevada.                     Neither

      plaintiff had any particular connection to New Hampshire before

      they decided to file this suit in New Hampshire state court, from

      which defendants removed it to federal court.                  The parties devote

      some effort to debating plaintiffs' motives for choosing to file

      this case in New Hampshire, but we find no need to get to issues

      of motive in order to decide this appeal.

                   Defendants moved to dismiss the claims under Federal

      Rule    of    Civil      Procedure 12(b)(2)           for     lack   of      personal

      jurisdiction.     Plaintiffs requested that should the district court

      be inclined to grant the motion, it first allow for jurisdictional

      discovery.      In May 2017, the district court did as plaintiffs

      asked, issuing an order permitting jurisdictional discovery.                     The

      order   limited    the      forms   of    discovery     to    interrogatories    and


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      requests for production.               Plaintiffs never suggested that they

      needed any other forms of discovery.

                  The jurisdictional discovery revealed that for at least

      five     years     (including     the    years     at    issue    here)     The   Deal

      successfully       recruited      and    retained       Dartmouth's     business     by

      sending targeted communications to school officials explaining why

      Dartmouth        should   pay    the    substantial       costs    of     becoming    a

      subscriber.        The Deal also telephoned Dartmouth directly in the

      course     of     actively      soliciting       Dartmouth's      renewal    of      its

      subscription.        The Dartmouth subscription granted to Dartmouth's

      7,000 students and faculty members the ability to sign up for

      access to the web portal on which one could read The Deal's

      articles.       Dartmouth bore the cost of the subscription and did not

      charge its users for access.               The Deal affirmatively contacted

      thirty to forty individuals on campus to elicit interest in The

      Deal.     Thirty members of the Dartmouth community signed up for

      access to the web portal, and two members also signed up to receive

      the emailed newsletter during the relevant period.                      The Deal had

      no other New Hampshire subscribers or contacts.                   Meagher has never

      set foot in the state, nor did he have any other relevant contact

      to which plaintiffs point.

                  The additional information produced in jurisdictional

      discovery trained on whether anyone actually looked at any of the

      three articles at issue here.               Analytic tools, the accuracy of


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      which the parties do not dispute,1 revealed that no one at Dartmouth

      (or elsewhere in New Hampshire) accessed the allegedly defamatory

      articles available on The Deal's web portal.               The parties also

      learned that the second and third articles sent in PDF format were

      never opened, but because The Deal was not set up to collect the

      necessary data when the first article was sent in 2013, discovery

      did not reveal whether either recipient opened the PDF file

      containing the first article.

                  Discovery also showed that twenty-one individuals in New

      Hampshire viewed one of the articles on a free, unrestricted

      website operated by The Deal's parent corporation.            Plaintiffs did

      not sue the parent company, and they make no effort to ground

      jurisdiction on those viewings of the parent's website, so neither

      shall we.    See United States v. Zannino, 895 F.2d 1, 17 (1st Cir.

      1990) (restating the "settled appellate rule" that issues not

      properly raised are waived).




            1At oral argument, plaintiffs' counsel stated in passing
      that: "I am not entirely sure of how the process of determining
      whether someone opened an email attachment works." To the extent
      that one could read this as an argument questioning the facts found
      in jurisdictional discovery, such an argument comes too late. Of
      course, a plaintiff need not blindly accept all of a defendant's
      claims concerning what the evidence shows. But the proper time
      and place for plaintiffs to argue about what factual conclusions
      should be drawn from information revealed in discovery was in the
      district court prior to its ruling, or, at the very least, in their
      opening brief to this court. See Remington v. United States, 872
      F.3d 72, 77–78 (1st Cir. 2017).


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                    Based upon the information revealed through discovery

      and   post-discovery     supplemental     briefing,       the   district   court

      granted defendants' motion to dismiss.            First, it concluded that

      because plaintiffs had not proffered evidence that the articles in

      suit were ever read by anyone via the Dartmouth subscription,

      plaintiffs' claim could not be said to "arise out of, or relate

      to"   defendants'     New   Hampshire    contacts.        Scottsdale    Capital

      Advisors Corp. v. The Deal, LLC, 2017 WL 3981243, at *5 (D.N.H.

      Sept. 8, 2017).       Second, it determined that because the evidence

      of circulation in the forum was "negligible," defendants could not

      be said to have purposefully availed themselves of the privilege

      of doing business in New Hampshire.              Id. at *6.        Finally, the

      district court found that under the so-called "gestalt" factors,

      the exercise of jurisdiction over defendants in New Hampshire would

      not be reasonable.      Id. at *7–8.     This appeal followed.

                                      II.   Analysis

                    Because neither party requested an evidentiary hearing

      and the district court did not conduct one, the district court

      used the prima facie method to assess the jurisdictional question.

      See Foster-Miller, Inc. v. Babcock & Wilcox Can., 46 F.3d 138,

      145–48 (1st Cir. 1995).           Under this method, a plaintiff must

      "proffer[] evidence which, if credited, is sufficient to support

      findings of all facts essential to personal jurisdiction" and may

      not   "rely    on   unsupported   allegations."       A    Corp.   v.   All   Am.


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      Plumbing, Inc., 812 F.3d 54, 58 (1st Cir. 2016).                    We review de

      novo the district court's conclusion that plaintiffs failed to

      meet this burden.      See Foster-Miller, Inc., 46 F.3d at 147.

                   Plaintiffs understandably make no claim that either

      defendant is subject to general personal jurisdiction.                   See, e.g.,

      Daimler AG v. Bauman, 134 S. Ct. 746, 754–56 (2014).                 Rather, they

      assert specific personal jurisdiction, i.e., jurisdiction over

      these defendants for the purpose of this specific lawsuit.                   Id. at

      754 (citing Int'l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)

      and    distinguishing       between      specific     and     general     personal

      jurisdiction).       As we recently explained in A Corp., plaintiffs

      seeking    to    establish       that    a   court   has      specific    personal

      jurisdiction over a defendant must show that:                   (1) their claim

      directly arises out of or relates to the defendant's forum-state

      activities; (2) the defendant's contacts with the forum state

      represent a purposeful availment of the privilege of conducting

      activities      in   that   state,       thus   invoking      the   benefits   and

      protections of that state's laws and rendering the defendant's

      involuntary     presence    in    that    state's    courts    foreseeable;    and

      (3) the exercise of jurisdiction is ultimately reasonable.                     812

      F.3d at 59.      Failure to make any one of these showings dooms any

      effort to establish specific personal jurisdiction.                  See id.




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                                                A.

                  We   begin     (and    ultimately       end)   by   analyzing    whether

      plaintiffs have proffered evidence that would support a finding

      that their claims arise out of or relate to defendants' forum-

      state activities.        See id.    Here, plaintiffs' claims all sound in

      tort, so to assess relatedness we "look to whether the plaintiff

      has established cause in fact (i.e., the injury would not have

      occurred 'but for' the defendant's forum-state activity) and legal

      cause (i.e., the defendant's in-state conduct gave birth to the

      cause of action)."         Mass. School of Law at Andover, Inc. v. Am.

      Bar Ass'n, 142 F.3d 26, 35 (1st Cir. 1998) (internal quotation

      marks omitted) (quoting United Elec., Radio & Mach. Workers of Am.

      v. 163 Pleasant St. Corp., 960 F.2d 1080, 1089 (1st Cir. 1992)).

                  Each    tort    as    alleged      in   this   case     relies   on   the

      allegation that defendants published defamatory material, so for

      the purpose of defining plaintiffs' injury, we can simply describe

      the cause of action as one for defamation.                        In defining the

      elements    of     defamation,      New   Hampshire        courts    look    to   the

      Restatement (Second) of Torts.              See Duchesnaye v. Munro Enter.,

      Inc., 480 A.2d 123, 127–28 (N.H. 1984). The elements of defamation

      as enumerated in the Restatement are:

                  (a)   a   false   and   defamatory   statement
                  concerning another; (b) an unprivileged
                  publication to a third party; (c) fault
                  amounting to at least negligence on the part
                  of the publisher; and (d) either actionability


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                  of the statement irrespective of special harm
                  or the existence of special harm caused by the
                  publication.

      Restatement     (Second)    of   Torts   § 558.      The    second   element,

      publication, does not mean merely uttering or writing.                Rather,

      "publication" as used in this context means to communicate the

      defamatory material to a third party (that is, a party who is not

      the subject of the defamatory material) where that third party

      understands the defamatory significance of the material.              See id.

      § 558 cmt. c ("Since publication requires that the defamatory

      matter be communicated to a third person, it is necessary . . .

      that the defamatory matter be brought to the attention of a third

      person [and] that [this third person] understand its defamatory

      significance.").       Logically, then, when the only third party

      exposed to a defamatory writing does not read that writing, a

      defendant is not liable for defamation.           See Walden v. Fiore, 134

      S. Ct. 1115, 1124 (2014) (noting, in the context of an inquiry

      into specific personal jurisdiction, that "[h]owever scandalous a

      newspaper article might be, it can lead to a loss of reputation

      only if communicated to (and read and understood by) third persons"

      (emphasis added) (citing Restatement (Second) of Torts § 577 cmt.

      b)); Griffin v. Pinkerton's, Inc., 173 F.3d 661, 665 (8th Cir.

      1999) (holding the publication requirement unmet because no third

      party had read the allegedly defamatory material).




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                   The record reflects that this is what happened (or, to

       be more precise, did not happen) here, at least as far as the web

       portal and the second and third emails. The Deal made the articles

       available through the subscriber portal and by email, but no one

       looked.    Notionally, a tree fell in New York but no one heard it

       in New Hampshire.

                   That leaves only the first article emailed to the two

       newsletter subscribers.       The record is silent as to whether either

       of those subscribers opened the attached article.               This silence

       leaves a hole in plaintiffs' prima facie case for maintaining

       jurisdiction.     Plaintiffs do not claim that they were refused any

       further discovery that might have helped them fill this hole. They

       also do not suggest that the litigation is likely to produce any

       evidence that either subscriber opened the attachment emailed over

       four years ago.      Nor do plaintiffs advance any principle of law

       that might generate a presumption that the email attachments were

       opened.      Individuals     often    receive   many   emails    every    day,

       attachments to which may well go unopened.              And while in other

       cases circumstantial evidence -- such as a higher number of email

       recipients -- might be sufficient to create a presumption of

       publication, no such circumstantial evidence is present here.              The

       number of recipients in this case -- two -- is too small to generate

       on its own a reasonable assumption that at least one recipient

       must have opened the attachment.


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                   All of this means that even on a prima facie basis,

       plaintiffs have not established either "cause in fact (i.e., the

       injury would not have occurred 'but for' the defendant's forum-

       state activity) [or] legal cause (i.e., the defendant's in-state

       conduct gave birth to the cause of action)."               Mass. School of Law

       at Andover, 142 F.3d at 35 (quoting United Elec. Radio & Mach

       Workers,    960    F.2d   at    1089).         Put   another   way,   plaintiffs'

       reputation would not differ had Dartmouth never subscribed to The

       Deal.   There is thus no nexus between the claims and defendants'

       forum-based       activities,     as     the     relatedness     prong   of   the

       jurisdictional analysis requires.              A. Corp., 812 F.3d at 59.

                   Plaintiffs' only rejoinder to this conclusion is to

       point to the Supreme Court's opinion in Keeton v. Hustler Magazine,

       Inc., 465 U.S. 770 (1984).          As plaintiffs correctly observe, the

       Court in Keeton found personal jurisdiction over a defamation claim

       by a non-New Hampshire plaintiff against a non-New Hampshire

       defendant based on the circulation of the allegedly defamatory

       article in the state, without mentioning whether anyone within the

       state actually read the article.                Therefore, argue plaintiffs,

       proof of circulation within the state is enough to establish

       relatedness.

                   In Keeton, though, the "circulation" consisted of copies

       of a paper magazine delivered to over 10,000 paying customers.

       Id. at 772.    One can reasonably presume that some of those 10,000-


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       plus persons read the article.        Plaintiffs sheepishly suggest that

       it is "well known" that the articles in a magazine like that at

       issue in Keeton ("Hustler") are less likely to be read because

       people buy the magazine for the photographs. We venture no opinion

       concerning this speculation beyond saying that it seems quite

       certain that at least some of the 10,000-plus purchasers read the

       articles that were central to Keeton.            We therefore decline to

       infer from Keeton any suggestion that proving defamation does not

       require evidence that a third party apprehended the defamatory

       communication, or that relatedness does not require at least some

       actionable defamation within the state.

                                              B.

                   In finding that plaintiffs failed to establish specific

       personal    jurisdiction      over    defendants,    the     district   court

       helpfully analyzed all three requirements for establishing such

       jurisdiction,    thereby    finding    three   reasons     for   declining   to

       assert jurisdiction.       Because we find compelling reasons to agree

       with the district court's cogent conclusion as to the lack of

       relatedness, and because we have reservations about its view that

       the   intentional    and   ongoing    recruitment    of    Dartmouth    as   an

       institutional subscriber did not constitute purposeful availment,

       we restrict our analysis to the issue of relatedness.              We express

       no impressions concerning the district court's analysis of the

       gestalt factors.


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                                    III.    Conclusion

                   In this case, plaintiffs' only injury was reputational

       harm allegedly suffered as a result of the publication of certain

       articles.     However, nothing in the record indicates that this

       injury arose in any way from defendants' only contacts with

       plaintiffs' chosen forum.        The offending articles appear to have

       never been read by anyone using the Dartmouth subscription, and to

       the extent that there is any doubt concerning that conclusion,

       plaintiffs have given us no reason to find within that doubt a

       prima facie basis for ruling in their favor.           The judgment of the

       district court is affirmed.




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